                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:24-CV-695-FDW-DCK

 NWR CONSTRUCTION, LLC,                              )
                                                     )
                 Plaintiff,                          )                    ORDER
                                                     )
    v.                                               )
                                                     )
 SCHINDLER ELEVATOR CORPORATION,                     )
                                                     )
                 Defendant.                          )
                                                     )

         THIS MATTER IS BEFORE THE COURT on “Plaintiff’s Motion To Compel

Arbitration And Stay Proceedings” (Document No. 15). This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and is ripe for disposition. Having

carefully considered the motion and the record, the undersigned will grant the motion.

                                       BACKGROUND

         NWR Construction, LLC (“Plaintiff” or “NWR”) “acted as general contractor for the

construction of 500 W. Trade (the “Project”), a luxury apartment community in uptown Charlotte.”

(Document No. 1-2, p. 2). On or about September 20, 2019, NWR entered into a Subcontract

Agreement (the “Subcontract”) with Schindler Elevator Corporation (“Defendant” or “Schindler”)

“pursuant to which Schindler agreed to complete elevator scope work for 500 W. Trade, which

included design, supply and installation of four elevators.” Id. Plaintiff NWR alleges that the

elevators installed by Defendant failed to perform as they should have, and that Defendant “has

failed and refused to adequately repair or replace the Elevators.” (Document No. 1-2, pp. 3-4).

         Plaintiff filed a “Complaint And Motion To Stay Pending Arbitration” (Document No. 1-

2) (the “Complaint”) on or about June 7, 2024, in the Superior Court of Mecklenburg County,




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North Carolina. Plaintiff asserts claims for: (1) breach of Subcontract; (2) breach of maintenance

agreement; (3) negligence; (4) negligent misrepresentation; and (5) unfair and deceptive trade

practices. (Document No. 1-2, pp. 4-9). The Complaint also moves for a stay pending arbitration.

(Document No. 1-2, pp. 9-11). The Complaint alleges that:

                   The Subcontract between NWR Construction and Schindler
               provides that “[a]ny claim or dispute between [Schindler] and
               [NWR Construction] shall, at the sole option of [NWR
               Construction] be determined in accordance with any disputes
               procedure set forth in the Contract Documents or, at the sole option
               of Contractor, by litigation or binding arbitration in accordance with
               the American Arbitration Association’s (“AAA”) Construction
               Industry Arbitration Rules ....”

(Document No. 1-2, p. 10); see also (Document N. 17-1, p. 10).

       Defendant filed a “Notice Of Removal” (Document No. 1) with this Court on July 29,

2024. Defendant contends that this Court has subject matter jurisdiction over this action pursuant

to 28 U.S.C. § 1332 because there is diversity of citizenship between the parties and the amount

in controversy exceeds $75,000. (Document No. 1, p. 2). On August 27, 2024, Defendant filed a

“Motion To Dismiss” pursuant to Fed.R.Civ.P. 12(b)(6) regarding “Plaintiff’s claims for

negligence, negligent misrepresentation, and unfair and deceptive trade practices.” (Document

No. 15). The motion to dismiss is ripe for disposition but has not been referred to the undersigned

Magistrate Judge.

       “Plaintiff’s Motion To Compel Arbitration And Stay Proceedings” (Document No. 15) was

filed September 9, 2024. The “...Motion To Compel...” has been fully briefed and is ripe for review

disposition. See (Document Nos. 16, 17, 21, and 23).

                                  STANDARD OF REVIEW

       The FAA represents “a liberal federal policy favoring arbitration agreements” and applies

“to any arbitration agreement within the coverage of the [FAA].” Moses H. Cone Mem’l Hosp. v.


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Mercury Constr. Corp., 460 U.S. 1, 24 (1983). Under Section 2 of the FAA, a written arbitration

provision “shall be valid, irrevocable, and enforceable, save upon such grounds as exist at law or

in equity for the revocation of any contract.” 9 U.S.C. § 2. Furthermore, the Supreme Court has

held that “courts must rigorously enforce arbitration agreements according to their terms.” AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011).

       In the Fourth Circuit, a litigant can compel arbitration under the FAA if he can demonstrate:
               (1) the existence of a dispute between the parties, (2) a written
               agreement that includes an arbitration provision which purports to
               cover the dispute, (3) a relationship of the transaction, which is
               evidenced by the agreement, to interstate or foreign commerce, and
               (4) the failure, neglect or refusal of [a party] to arbitrate the dispute.
Galloway v. Santander Consumer USA, Inc., 819 F.3d 79, 84 (4th Cir. 2016); see also Chorley

Enters., Inc. v. Dickey’s Barbecue Rests., Inc., 807 F.3d 553, 563 (4th Cir. 2015).

       “Agreements to arbitrate are construed according to the ordinary rules of contract

interpretation, as augmented by a federal policy requiring that all ambiguities be resolved in favor

of arbitration.” Choice Hotels Int’l, Inc. v. BSR Tropicana Resort, Inc., 252 F.3d 707, 710 (4th

Cir. 2011). Whether a party agreed to arbitrate a particular dispute is a question of state law

governing contract formation. Adkins v. Labor Ready, Inc., 303 F.3d 496, 500-01 (4th Cir. 2002).

“[T]he party resisting arbitration bears the burden of proving that the claims at issue are unsuitable

for arbitration.” Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 81 (2000).

                                               DISCUSSION

       By the instant motion, Plaintiff contends that “[a]ll claims alleged in the Complaint are

subject to arbitration” and seeks “an order compelling all claims to arbitration and staying all

further proceedings in this action.” (Document No. 15, pp. 2-3). In support of its motion Plaintiff

argues that all four (4) of the prerequisites for an order compelling arbitration have been met.

(Document No. 16, pp. 4-8). See also Galloway, 819 F.3d at 84; and Rubicon Research Private

                                                   3
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Ltd. v. Kartha Pharm. Inc., No. 3:21-CV-129-MOC-DCK, 2021 WL 4233887, at *2 (W.D.N.C.

Sept. 16, 2021).

       First, Plaintiff notes that the parties entered into the Subcontract and that Plaintiff alleges

“latent defects in Schindler’s work under the Subcontract, misrepresentations inducing Plaintiff to

enter the Subcontract in the first place, and misleading statements made by Schindler as to a plan

of repair, all of which Schindler has denied.” (Document No. 16, p. 5). Based on the foregoing,

Plaintiff states that “[t]here clearly exists a dispute between Plaintiff and Schindler relating to

Schindler’s work on and relating to the Elevators.” Id.

       Second, Plaintiff contends that the requirement for a written agreement to arbitrate has

been satisfied. (Document No. 16, pp. 5-6). Plaintiff notes that the parties’ Subcontract provides

as follows:

               [a]ny claim or dispute between [Schindler] and [NWR Construction]
               shall, at the sole option of [NWR Construction] be determined in
               accordance with any disputes procedure set forth in the Contract
               Documents or, at the sole option of [NWR Construction], by
               litigation or binding arbitration in accordance with the American
               Arbitration Association’s (AAA) Construction Industry Arbitration
               Rules, then in effect . . . .

(Document No. 16, p. 5) (quoting Document No. 17-1, p. 10).

       Plaintiff also asserts that to the extent there is any dispute about the arbitrability of its

claims, the Subcontract adopts the Construction Industry Arbitration Rules of the American

Arbitration Association, which “‘clearly and unmistakably’ submit[] the issue of arbitrability to

the arbitrator.” (Document No. 16, p. 7) (citations omitted).

       Third, Plaintiff argues that it has satisfied its obligation to show the relationship of the

transaction to interstate or foreign commerce. (Document No. 16, pp. 7-8) (citations omitted).

Specifically, Plaintiff asserts the following:



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                   Here, the Project was located in Charlotte, North Carolina.
               (ECF 1-2 ¶ 3.) Schindler is a Delaware corporation with a principal
               place of business in Morristown, New Jersey. (ECF 1 ¶ 12.) And
               the elevator scope of work and overall construction Project
               incorporated labor and materials from multiple states. (Wilson
               Decl. ¶ 7.) All of these are sufficient to find that this transaction
               involves commerce within the meaning of the FAA.

Id.

        Fourth, and finally, Plaintiff argues that the criteria that there has been a failure, neglect,

or refusal of a party to arbitrate, has been satisfied. (Document No. 16, p. 8). Plaintiff notes that

it filed this action to preserve its claims against Schindler and sought a stay of proceedings and an

order to arbitrate. Id. (citing Document No. 1-2). Defendant Schindler refused to arbitrate,

removed the action to this Court, and now opposes the instant motion to compel arbitration – thus

satisfying the requirement that there be a failure or refusal to arbitrate. Id.

        In response to the pending motion, Defendant suggests that the motion to compel should

be denied because “the arbitration clause is illusory and unenforceable, because it empowers

Plaintiff to unilaterally choose to arbitrate or litigate.” (Document No. 21, p. 1) (citations omitted).

Defendant notes that:

                    Section 7 of the Subcontract provides that only Plaintiff has the
               power to determine whether a claim shall be referred to arbitration
               or shall be pursued in litigation. Section 7 does not permit Schindler
               to compel arbitration even if it desired to do so. Whether any
               particular claim will be determined in an arbitration forum or in a
               litigation forum is completely and totally within the control of
               Plaintiff to decide, and Section 7 does not even provide guidance for
               when Plaintiff must make that determination.

(Document No. 21, pp. 4-5); see also (Document No. 17-1, p. 10).

        Defendant argues that “where one party reserves the right to modify or abolish an

arbitration agreement unilaterally, it is not enforceable.” (Document No. 21, p. 5) (citing Coady

v. Nationwide Motor Sales Corp., 32 F.4th 288, 293 (4th Cir. 2022)). Defendant further asserts


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that “[m]utuality of obligation is essential to the enforcement of arbitration agreements.”

(Document No. 21, p. 6).

       Defendant concludes that it cannot be compelled to arbitrate a claim that it has not agreed

to arbitrate; “[u]nder the law, this provision constitutes an illusory promise, which cannot be

legally enforced.” (Document No. 21, p. 7).

       “Plaintiff’s Reply...” argues that Defendant’s opposition relies “on inapplicable state law

from other jurisdictions.” (Document No. 23, p. 1). According to Plaintiff, North Carolina law

“does not require mutuality of obligation in arbitration agreements.” Id. (citing Senior Mgmt., Inc.

v. Capps, 240 F.App’x 550, 552 (4th Cir. 2007)).

       In support of its position, Plaintiff NWR notes that Defendant Schindler only contests the

second prerequisite for an order compelling arbitration – the existence of an enforceable agreement

to arbitrate. (Document No. 23, p. 2). Plaintiff then notes that North Carolina law is applied in

this case because “[t]he Subcontract between NWR Construction and Schindler expressly provides

that it shall be interpreted and applied in accordance with North Carolina law.” Id. (citing

Document No. 17-1, p. 13).

       Plaintiff goes on to explain that under North Carolina law, arbitration clauses allowing only

one party to elect arbitration are enforceable. (Document No. 23, p. 3). Plaintiff includes the

following instructive analysis of relevant caselaw:

                  The North Carolina Court of Appeals rejected Schindler’s
               mutuality analysis in Tillman v. Com. Credit Loans, Inc., 177 N.C.
               App. 568, 629 S.E.2d 865 (2006). . . . “Under North Carolina law,
               ‘mutuality’ merely requires consideration on each side of a contract.
               Mutuality does not require that each of the contract terms must apply
               equally to both parties to be enforceable.” Id.

                   In Senior Management, Inc. v. Capps, the Fourth Circuit Court
               of Appeals reviewed an arbitration provision providing: “[a]t the
               option of [Appellants], any dispute arising out of this agreement


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               may be referred for Arbitration in accordance with the rules of [sic]
               American Arbitration Association at their office in Charlotte, North
               Carolina.” 240 Fed. App’x 550, at 552. The district court initially
               denied appellants’ motion to compel arbitration “because it
               determined that, since the arbitration provision left the decision
               whether to arbitrate entirely to Appellants’ discretion, the provision
               was ‘illusory and unenforceable.’” Id. The court of appeals,
               however, reversed because “North Carolina law does not require
               mutuality of obligation in arbitration agreements,” explaining
               that “so long as the contract as a whole is supported by adequate
               consideration, there is no requirement that an arbitration provision
               in the contract place an obligation to arbitrate on all parties to the
               contract.” Id. at 552-53 (citing Tillman, 177 N.C. App. at 580;
               Strategic Outsourcing, Inc. v. Stacks, 176 N.C. App. 247, 251, 625
               S.E.2d 800, 803 (2006)

(Document No. 23, pp. 3-4)(emphasis added).

        Plaintiff further asserts that Defendant’s opposition relies on Maryland law, which is

contrary to North Carolina law on the issue of mutuality. (Document No. 23, pp. 4-5) (citing Dan

Ryan Builders, Inc. v. Nelson, 682 F.3d 327 (4th Cir. 2012); Noohi v. Toll Bros., 708 F.3d 599

(4th Cir. 2013); and Coady v. Nationwide Motor Sales Corp., 32 F.4th 288 (4th Cir. 2022)).

Plaintiff argues that the distinction is important because “North Carolina looks at whether the

contract as a whole is supported by consideration and imposes no requirement that the arbitration

provision in that contract subject all parties to the same arbitration obligations, which is ‘contrary

to the law in Maryland on this issue.’” (Document No. 23, p. 5) (quoting Dan Ryan Builders, 682

F.3d at 329-30).

        Based on satisfying the required prerequisites, and applying North Carolina law, Plaintiff

concludes that the motion to compel arbitration should be granted and this case should be stayed.

Id.

        The undersigned finds that Plaintiff’s arguments and applicable authority are most

compelling. In short, the parties’ Subcontract allows Plaintiff to have the parties’ dispute



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determined “by litigation or binding arbitration” and Plaintiff’s choice to pursue arbitration is

enforceable.

       IT IS, THEREFORE, ORDERED that “Plaintiff’s Motion To Compel Arbitration And

Stay Proceedings” (Document No. 15) is GRANTED. This matter is STAYED.

       IT IS FURTHER ORDERED that the parties shall file a Joint Status Report on January

17, 2025, and every ninety (90) days thereafter, until this case is dismissed or until otherwise

ordered by the Court.

       SO ORDERED.


                              Signed: November 1, 2024




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